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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

  IN RE                                                     CHAPTER 11

  FOODFIRST GLOBAL                                          CASE NO.: 6:20-bk-02159-LVV
  RESTAURANTS, INC., et al.,
                                                            Jointly Administered 1
                   Debtors.                                 Objections Due by July 21, 2020


                  DEBTORS’ MOTION TO DISMISS CHAPTER 11 CASES

        FOODFIRST GLOBAL RESTAURANTS, INC., and its affiliated debtors (collectively,

“FoodFirst” or the “Debtors”), by and through their undersigned counsel, and pursuant to 11

U.S.C. §§ 105(a) and 1112(b) of the Bankruptcy Code, and Federal Rule of Bankruptcy Procedure

1017, hereby request that this Court dismiss the Chapter 11 cases, and in support state as follows:

                                               Background

        1.      On April 10, 2020 (the “Petition Date”), each of the Debtors filed with this Court a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code. The Debtors’ cases are

being jointly-administered for procedural purposes only. The Debtors are operating their business

and managing their properties as debtors and debtors-in-possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code.

        2.      On April 21, 2020, the Office of the United States Trustee appointed the official

committee of unsecured creditors (Doc. Nos. 53 and 176) (the “Committee”). No request has been




1 Jointly administered cases: FoodFirst Global Restaurants, Inc., Case No: 6:20-bk-02159-LVV; FoodFirst Global
Holdings, Inc., Case No: 6:20-bk-02161-LVV; Brio Marlton, LLC, Case No: 6:20-bk-02162-LVV; Brio Tuscan Grille
of Maryland, Inc., Case No: 6:20-bk-02163-LVV; Brio Tuscan Grille of Baltimore, LLC, Case No: 6:20-bk-02164-
LVV; Brio Tuscan Grille of Cherokee, LLC, Case No: 6:20-bk-02165-LVV; Cherry Hill Two, LLC, Case No: 6:20-
bk-02166-LVV; and Bravo Development of Kansas, Inc., Case No. 6:20-bk-02167-LVV.
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made for the appointment of a trustee or an examiner in these cases.

       3.      On May 26, 2020, the Debtors filed a Motion for (I) Entry of an Order Authorizing,

Under Sections 105, 363, 365, 1107 and 1108 of the Bankruptcy Code, (A) The Sale of Assets

Pursuant to the Purchase Agreement Free and Clear of Liens, Claims and Interests Thereunder;

(B) Assumption and Assignment of Executory Contracts and Unexpired Leases; (C)

Consummation of the Purchase Agreement and Related Documents; and (II) Granting Related

Relief (the “Sale Motion”) (Doc. No. 241). This Court entered an Order Granting the Sale Motion

on June 17, 2020 (the “Sale Order”) (Doc. No. 333).

       4.      Pursuant to the Sale Order, all of Debtors’ assets were sold to buyer in exchange

for certain consideration as set forth in the Sale Order, including, without limitation, satisfaction

of $25,000,000 of secured debt and funding of up to $1,050,000 to pay all allowed administrative

expense claims (the “Administrative Expense Escrow”).

       5.      The sale also resulted in assignment of at least 51 real property leases to buyer, cure

of approximately $5,000,000 in post-petition lease claims, and preservation of over 1,000 jobs.

Consummation of lease assignment will be concluded by July 21, 2020.

       6.      Debtors, in consultation with the Creditors’ Committee, have concluded that the

estates are best served by dismissing the cases and distributing the Administrative Expense Escrow

under the terms set forth in the Motion and upon Court approval of dismissal.

       7.      Debtors believe, due to in excess of $2,000,000 in priority claims, that a plan of

liquidation cannot be confirmed and the effort to confirm would serve only to increase

administrative expenses and not result in a distribution to general unsecured creditors..

       8.      Debtors assert that a Chapter 7 would serve no purpose and also increase

administrative claims without any increase in funds available for unsecured creditors. As part of
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the Sale: (i) all actions under 11 U.S.C. 547 were purchased by the buyers with an agreement not

to pursue preference actions; and (ii) broad releases were granted to former officers and directors.

Accordingly, Debtors assert there are no viable remedies available to a Chapter 7 trustee to raise

funds to distribute to unsecured creditors.     Moreover, Debtors assert that after a review of

potential causes of action the face amount of such claims, even if the Sale had not occurred, were

less than $500,000 in total value.

       9.       Overall, there is no benefit for the estate to remain in Chapter 11 and dismissal is

in the best interested of all creditors and parties in interest. Because Debtors have determined

there is no benefit to the estate to continue towards confirmation as each entity no longer has an

operating business or an asset of any value, the Debtors seek entry of an order pursuant to §

1112(b)(1) dismissing their chapter 11 cases and submit that dismissal is in the best interests of

the estates and creditors.

       10.      Debtors have conferred with the Committee who has no opposition to dismissal of

the Chapter 11 cases. Conversion of the case(s) would cause additional expenses with no change

in recovery.

                                Administrative Expense Escrow

       11.      Pursuant to the Sale Order, the Purchaser has agreed to fund the Administrative

Expense Escrow. In addition to the Administrative Expense Escrow, Debtors have previously

funded $250,000 for professionals employed by the Committee (the “Committee Professionals

Fund”).      The Administrative Expense Escrow will be used to pay the Administrative Expense

Claims listed on Schedule “A” hereto. The Committee Professionals Fund will be used to pay

the fees and expenses of professionals retained by the Committee. There will be no overlap

between the two funs; however, both funds will be distributed upon Court approval of this Motion.
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       12.     The administrative expense claims contained in Schedule “A” comprise Debtors

understanding of the approximate amount of administrative expense claims as of June 30, 2020.

To the extent such amounts increase prior to the August 4, 2020 hearing on the Motion, Debtors

will file an updated Schedule “A” no later than August 3, 2020.

       13.     Parties who believe they hold a claim under Bankruptcy Code Section 503 who are

either not listed or listed with an amount which differs from Schedule “A” should contact the

undersigned in respect of such administrative expense claim and, if agreement is not reached with

Debtor, should file an objection to the Motion by no later than July 21, 2020. Any disputes as to

the administrative expense claims to be paid from the Administrative Expense Escrow will be

resolved at the hearing on August 4, 2020.

                                          Relief Requested

       14.     Debtors submit that “cause” exists for the dismissal of their cases pursuant to

section 1112(b)(1) and (4). Section 1112(b)(4) of the Bankruptcy Code provides a litany of

statutory examples of “cause” for dismissal or conversion of a chapter 11 case, but a bankruptcy

court is not constrained by those enumerated examples and may find “cause” based on the facts

and circumstances of the particular chapter 11 case. See In re Schultz, 436 B.R. 170, 175 (Bankr.

M.D. Fla. 2010). The legislative history of section 1112(b) of the Bankruptcy Code is

nonexclusive, such that a bankruptcy court has the ability to dismiss a chapter 11 case for any

reason cognizable to its equity powers. See H.R. Rep. No. 595, 95th Cong., 2d Sess. 405-06 (1978).

However, the most important consideration when dismissing a case is whether dismissal is in the

best interests of creditors. In re Warner, 83 B.R. 807, 810 (Bankr. M.D. Fla. 1998).

       15.     In this case, the facts and circumstances sufficiently establish cause for dismissal

at the Debtors’ request, and that such dismissal is in the best interests of creditors.
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       WHEREFORE, the Debtors respectfully request that the Court enter an order (i) granting

this Motion; (ii) dismissing the Debtors and their subsequent Chapter 11 cases; (iii) allowing

distribution from the Administrative Expense Escrow and the Committee Professionals Fund;

and (iv) granting such other and further relief the Court deems appropriate.

       RESPECTFULLY SUBMITTED this 1st day of July 2020.

                                                 /s/ R. Scott Shuker
                                                 R. Scott Shuker, Esq.
                                                 Florida Bar No. 0984469
                                                 rshuker@shukerdorris.com
                                                 SHUKER & DORRIS, P.A.
                                                 121 S. Orange Ave., Suite 1120
                                                 Orlando, Florida 32801
                                                 Telephone: (407) 337-2060
                                                 Facsimile: (407) 337-2050
                                                 Attorneys for the Debtors
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  IN RE                                               CHAPTER 11

  FOODFIRST GLOBAL                                    CASE NO.: 6:20-bk-02159-LVV
  RESTAURANTS, INC., et al.,
                                                      Jointly Administered
                 Debtors.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the forgoing DEBTORS’ MOTION TO
DISMISS CHAPTER 11 CASES has been furnished either via electronic mail or U.S. first-class
mail postage prepaid to: Debtors, c/o Hollie Rose, 4700 Millenia Blvd., Suite 400, Orlando, FL
32839; Rosenfield and Company, PLLC, 301 E. Pine Street, Suite 975, Orlando, FL 32801;
Rosenfield and Company, PLLC; Attn: Bob Morrison, CRO, 301 E. Pine Street, Suite 975,
Orlando, Florida 32801; Proskauer Rose LLP, attorney for GPEE Lender, LLC, Eleven Times
Square, New York, NY 10036-8299; Vincent Indelicato, Esq., Proskauer, Eleven Times Square,
New York, NY 10036, vindelicato@proskauer.com; Ron Freed, Vice President,
Ron.Freed@cnb.com; City National Bank, 555 South Flower St., 16th Floor, Los Angeles, CA
90071; Matthew White, Esq., mwhite@garrisoninv.com, Anthony M. DiGiacomo, Chapman and
Cutler LLP, 1270 Avenue of the Americas, New York, NY 10020; digiacomo@chapman.com;
Garrison Funding; Suzanne E. Gilbert, Esq., Holland & Knight, 200 South Orange Avenue, Suite
2600, Orlando, FL 32801, Suzanne.gilbert@hklaw.com; Brian Smith, Esq., Holland & Knight,
200 South Orange Avenue, Suite 2600, Orlando, FL 32801, brian.smith@hklaw.com; creditors’
Committee: Brookfield Property Retail, Inc. Attn: Julie Minnick Bowden, National Bankruptcy
Director,     350       N.     Orleans     Street,    Suite     300    Chicago,       IL     60654
(julie.bowden@brookfieldpropertiesretail.com); Bar Harbor Seafood, Attn: Bradley Boe,
Director of Credit, 188 Inverness Drive West Englewood, CO 80112 (Brad.boe@pfgc.com);
Simon Property Group, Inc., Attn: Ronald M. Tucker, Vice President/Bankruptcy Counsel, 225
West Washington Street, Indianapolis, IN 46204 (rtucker@simon.com); Bradford J. Sandler, Esq.,
Pachulski Stang Ziehl & Jones, LLP, 780 Third Avenue, 34th Floor, New York, NY 10017,
bsandler@pszjlaw.com; Mark J. Wolfson, Esq., Foley & Lardner LLP, 100 N. Tampa Street, Suite
2700, Tampa, Florida 33602, mwolfson@foley.com; Robert Feinstein, Esq., Counsel for the
Official Committee, Pachulski STang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New
York, NY, 10017, rfeinstein@pszjlaw.com; Gordon Food Services, Inc., c/o Ice Miller LLP, Attn:
Jason Torf, Esq., 200 W. Madison St., Ste. 3500, Chicago, IL 60606 (Jason.Torf@icemiller.com);
the parties entitled to receive CM/ECF noticing; all creditors and parties-in-interest as shown on
the matrix attached to the original of this motion filed with the Court; and the U.S. TRUSTEE,
400 West Washington Street, Suite 1120, Orlando, Florida 32801, on this 1st day of July 2020.

                                                /s/ R. Scott Shuker
                                                R. Scott Shuker, Esq.
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                                            SCHEDULE “A”

                 Administrative Claim                                       Claim
                 Rents closed 2                      $                      218,379.16
                 Shuker & Dorris, P.A.               $                      177,000.00
                 Chubb Insurance                     $                      139,539.16
                 Gordon Food Service (includes PACA) $                      123,000.00
                 Rosenfield & Company, PLLC          $                       41,500.00
                 Anthem Blue Cross and Blue Shield   $                       37,000.00
                 Granite Accounts                    $                       25,000.00
                 Unum May and June                   $                       20,000.00
                 Brinks Security                     $                       15,000.00
                 Robert Morrison, CRO                $                        5000.00
                 Total Admin                         $                      801,418.32




2 For a detailed List of Rent Claim Amounts see Schedule “B”.
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                                                                                    SCHEDULE "B"
FoodFirst Global Restaurants
                                                                                                                                                                                                                                   Admin Claim

Rest#    Brand                 Landlord                   Landlord Name on Rent Check           Landlord Address               Landlord Address            City      State      Zip       Restaurant Name         CITY        ST       Claim



2107   BRIO       100 East Pratt Street Business Trust   100 PRATT ST. VENTURE, LLC     P.O. BOX 780462                                               PHILADELPHIA   PA      19178-0462 Inner Harbor                             $         4,910
2018   BRIO       Capref Brookwood Village               CAPREF BROOKWOOD VILLAGE L     P.O. BOX 713934                                               CINCINNATI     OH      45271-3934 Birmingham            Birmingham      AL $         4,295
2108   BRIO       CBRE                                   CORNERSTONE HOLDING LP.        dbaBOCA CENTER AT MILITARY LLCP.O. BOX 865162                 ORLANDO        FL      32886-5162 Boca Raton            Miami           FL $         5,840
1141   BRAVO      East Beltline Development, LLC         EAST BELTLINE DEVELOPMENT      38500 WOODARD AVENUE          SUITE 200                       BLOOMFIELD HILLMI      48304      Knapps Crossing       Grand Rapids    MI $         3,498
Columbus Office   FILLMORE BUCKEYE INVESTMEN             FILLMORE BUCKEYE INVESTMEN     777 GOODALE PARTNERS, LLC.    7555 E PLEASANT RD #160         INDEPENDENCE   OH           44131 Columbus Office                          $         4,666
1138    BRAVO     Forest City Enterprises                BPC HENDERSON LLC.             P.O. BOX 72006                                                CLEVELAND      OH      44192-0006   Henderson           Henderson       NV   $       2,761
2074    BRIO      General Growth Properties, Inc.        ROUSE - PARK MEADOWS, LLC      SDS-12-3096                   P.O. BOX 86                     MINNEAPOLIS    MN      55486-3096   Park Meadows        Denver          CO   $       6,142
2111    BRIO      General Growth Properties, Inc.        WILLOWBROOK MALL, LLC.         SDS-12-2767                   P.O. BOX 86                     MINNEAPOLIS    MN      55486-2767   Willowbrook         Wayne           NJ   $       6,124
1133    BRAVO     Harbourside Place, LLC                 HARBOURSIDE PLACE , LLC.       ACCT#9211203000               107 NORTH COASTAL WAY           JUPITER        FL      33477        Harbourside Place   Jupiter         FL   $       6,667
2112    BRIO      Hines Global REIT                      HINES GLOBAL REIT              4875 TOWN CENTER LLC          P.O. BOX 742632                 ATLANTA        GA      30374-2632   Jacksonville        Jacksonville    FL   $       3,799
2093    BRIO      IDB                                    GREAT WASH PARK LLC            P.O. BOX 96146                                                LAS VEGAS      NV      89193-6146   Summerlin           Summerlin       NV   $       3,657
1044    BRAVO     Inland Real Estate Group               INLAND CONTINENTAL PROPERT     MANAGEMENT CORP               32533 COLLECTION CENTER DRIVE   CHICAGO        IL      60693-0325   Memorial Square     Oklahoma City   OK   $       1,546
2048    BRIO      Macerich                               TYSONS CORNER CENTER           TYSON'S CORNER HOLDINGS LLC P.O. BOX 849554                   LOS ANGELES    CA      90084-9554   Tyson Corners       McLean          VA   $      11,329
2105    BRIO      Macerich                               MACWH, LP.                     DANBURY MALL, LLC.            P.O. BOX 849548                 LOS ANGELES    CA      90084-9548   Danbury Fair        Danbury         CT   $       5,593
2055    BRIO      Principal Real Estate Investors        PIEDMONT ROW DRIVE LLC         PO BOX 310300                 REFERENCE 258810                DES MOINES     IA      50331-0300   Piedmont            Charlotte       NC   $       3,851
1091    BRAVO     RED Development                        LITTLE ROCK DEVELOPMENT        PROMENADE AT CHENAL           P.O. BOX 95603                  LAS VEGAS      NV      89193-5603   Little Rock         Little Rock     AR   $      20,741
1131    BRAVO     Rookwood Exchange Operating, LLC       Rookwood Exchng Operating,     3825 EDWARDS RD.              SUITE 200                       CINCINNATI     OH      45209        Rockwood            Cincinnati      OH   $      21,442
1026    BRAVO     Stark Enterprises, Inc.                CHAGRIN RETAIL LLC             629 EUCLID AVENUE             SUITE 1300                      CLEVELAND      OH      44114        Eton                Woodmere        OH   $       4,312
2025    BRIO      Stark Enterprises, Inc.                CP COMMERCIAL DELAWARE, LL     PO BOX 72585                                                  CLEVELAND      OH      44192-0002   Crocker Park        Westlake        OH   $      22,370
2033    BRIO      Starwood Retail Partners LLC           TM STONY POINT PARK, L.P.      P.O. BOX 75519                ATTN: ACCOUNTS RECEIVABLE       BALTIMORE      MD      21275-5519   Stony Point         Richmond        VA   $       5,067
3017    BRIO      Steiner & Associates                   EASTON TOWN CENTER LLC         L-3769                                                        COLUMBUS       OH      43260-3769   Bon Vie Easton      Columbus        OH   $       4,723
1010    BRAVO     The Feil Organization                  CAUSEWAY LLC                   PO BOX 54091                                                  NEW ORLEANS    LA      70154-4091   Metairie            Metairie        LA   $       3,594
2047    BRIO      The Forbes Company                     SOMERSET COLLECTION LTD PT     16129 COLLECTIONS CENTER DRIV                                 CHICAGO        IL      60693        Sommerset           Troy            MI   $      34,103
2124    BRIO      The Taubman Company                    DOLPHIN MALL ASSOCIATES LL     DEPT. 189501                  P.O. BOX 6700                   DETROIT        MI      48267-1895   Dolphin Mall        Miami           FL   $       5,318
1009    BRAVO     USRP Willow East, LLC                  WILLOW LAKE SHOPPING CENTE     USRP WILLOW EAST LLC          3055 SOLUTIONS CENTER           CHICAGO        IL      60677-3000   Willowlake          Indianapolis    IN   $       2,516
2110    BRIO      Washington Prime Group                 ARBORETUM MALL, LLC.           P.O. BOX 281637                                               ATLANTA        GA      30384-1637   Arboretum           Austin          TX   $       3,258
2014    BRIO      WINTER PARK TOWNE CENTER L             WINTER PARK TOWNE CENTER L     PO BOX 73847                                                  CLEVELAND      OH      44193        Orlando             Orlando         FL   $      16,257

                                                                                                                                                                                                              Total                $   218,379.16
